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Via ECF

July 30, 2021


The Hon. Victor Marrero
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007


RE:            In re European Gov’t Bonds Antitrust Litig., No. 19-cv-2601-VM (S.D.N.Y.)

Dear Judge Marrero:

On behalf of Moving Defendants,1 we respectfully write to inform the Court of a Second Circuit
decision that strongly supports the proposed motions to dismiss the FAC (Dkt. No. 206). On
July 19, 2021, the Second Circuit affirmed the dismissal of an antitrust class action alleging a
market-wide price-fixing conspiracy in markets for supranational, sovereign, and agency
(“SSA”) bonds. See Alaska Dep’t of Revenue, Treasury Div. v. Manku, No. 20-1759-CV, 2021
WL 3027170 (2d Cir. July 19, 2021) (“SSA Bonds,” attached as Ex. A).

As in the FAC, plaintiffs in SSA Bonds alleged that multiple defendant entities in different
countries “collaborated and shared information” via chat rooms and phone calls and “conspired
not to compete against each other in the secondary market for USD SSA bonds” and inflate bid-
ask spreads on a daily basis for all secondary market trades, for several years. Ex. A at *2. As in
the FAC, plaintiffs in SSA Bonds also relied on an investigation by the European Commission
(“EC”) and “statistical analyses, claiming to identify artificially wide price margins.” Id. The
Second Circuit affirmed the dismissal of the SSA Bonds complaint, holding that these allegations
were insufficient under Twombly, even though plaintiffs had “adequately allege[d]
anticompetitive conduct” by some traders. Id. at *4. In short, “plaintiffs ha[d] cast a net so wide
that the claimed antitrust conspiracy” was “simply not plausible.” Id. The court’s reasoning
warrants dismissal here.

First, the Second Circuit explained that in a market that “operates through bilateral over-the-
counter transactions” and is “decentralized” and “opaque,” the broad conspiracy alleged by

1
  “Moving Defendants” are all defendants named in the Fourth Amended Complaint (Dkt. No. 146)
(“FAC”) except State Street Bank and Trust Company and State Street Corporation.


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plaintiffs—“involving more than twenty entities in different countries . . . conspiring ‘[e]very
day, nearly all day’ . . . tainting every one of their trades for some seven years -- is simply not
plausible.” Id. The conspiracy alleged in the FAC is just as implausible. As in SSA Bonds,
Plaintiffs allege that “the European Government Bond market is a relatively opaque, over-the-
counter (‘OTC’) market,” FAC ¶ 25, and that the purported conspiracy was carried out through
substantially the same means—namely that defendants “shared confidential information
regarding their trading positions to coordinate their trading” and “also regularly exchanged
customer flow information” via chats to fix prices. Id. ¶¶ 246-247, 289-306. Further, Plaintiffs
allege that each of the Moving Defendants (22 separate entities in total) conspired in markets in
13 different European countries to manipulate the prices of every single EGB purchased on the
other side of the Atlantic over a period of six years. See id. ¶¶ 1, 202, 238, 268, 367, 386.

Second, the Second Circuit found that the SSA Bonds complaint “fail[ed] to explain how the
conspirators were able to wield such control over the secondary market as to impact every trade
with every defendant and yield a viable claim for every plaintiff.” Ex. A at *4. That failure is
even more palpable here. Plaintiffs do not allege that defendants hold a dominant market share
(even collectively) of sovereign bonds of any EGB issuing country—let alone all 13 countries—
that could allow them to consistently corner the OTC EGB secondary markets.2 Moreover, SSA
Bonds makes clear that Plaintiffs’ allegations of a few unremarkable chats about market events,
involving a subset of defendants, during one year of the alleged six-year conspiracy, and relating
to only a few EGBs—in sum, much less extensive chat evidence than in SSA Bonds—fall well
short of plausibly demonstrating a market-wide conspiracy affecting all EGBs sold by Moving
Defendants over six years. See FAC ¶¶ 250-268. The same goes for Plaintiffs’ statistical
analyses. Just as the multi-country statistical analyses of bid-ask spreads in SSA Bonds failed to
render plausible the conspiracy allegations in that case, neither Figure 11 nor Figure 12—both of
which purportedly analyze bid-ask spreads for a single EGB issuing country (Italy) for limited
periods of time—renders plausible the alleged extensive multi-year, cross-continent conspiracy
encompassing every trade in the EGB markets for 13 different European countries.3

In short, SSA Bonds makes clear that where, as here, plaintiffs “cast a net so wide” as to allege a
sweeping, multi-year, multi-defendant conspiracy, the Court must “evaluate plaintiffs’ claims as
they are alleged: an antitrust conspiracy involving all defendants and affecting all trades with the
defendants.” Ex. A at *4 (emphasis in original). And, where, as here, “the broad conspiracy
alleged by plaintiffs is simply not plausible,” the complaint should be dismissed. Id.




2
 Conversely, the SSA Bonds defendants were alleged to be “dominant players” responsible for “as much
as 60% of the underwriting for primary issuances of USD SSA bonds,” a figure plaintiffs claimed also
“closely correlated” to their alleged market share in the secondary SSA bonds markets. Second Am.
Compl. ¶ 505, SSA Bonds, No. 16-CV-3711 (S.D.N.Y.), Dkt. No. 506.
3
 Additionally, in SSA Bonds, like here, plaintiffs relied on an EC investigation, and when the EC
announced fines against certain banks, plaintiffs brought the press release to the court’s attention, see SSA
Bonds, No. 20-1759-CV (2d Cir.), Dkt. No. 273-1.



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Respectfully submitted,

      /s/ Richard F. Schwed

Richard F. Schwed

Attorney for Bank of America, N.A. and
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Enclosure

cc:      All Counsel of Record (via ECF)




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